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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF LOUISIANA
                                    LAKE CHARLES DIVISION



  THE STATE OF LOUISIANA,

                        Plaintiff,
                                                         No. 2:23-cv-00692-JDC-TPL
              v.

  U.S. ENVIRONMENTAL PROTECTION
  AGENCY, et al.,

                        Defendants.


                         JOINT REQUEST FOR BRIEFING SCHEDULE
                           AND FOR ENTRY OF FINAL JUDGMENT

         Plaintiff and Defendants, having conferred since the entry of this Court’s January 23, 2024

 Memorandum Ruling granting Plaintiff’s Motion for a Preliminary Injunction, ECF No. 48 (“Ruling”),

 and accompanying Preliminary Injunction Order, ECF No. 50 (“Injunction”), respectfully submit this

 joint request to set a briefing schedule and for entry of final judgment. Subject to the terms detailed

 below, the parties are in agreement that the Court may enter final judgment in this case without

 additional dispositive motion practice; that there remain only certain discrete issues concerning a final

 judgment that would require this Court’s resolution; and that resolving those issues under the below

 proposed briefing schedule is in the interests of judicial economy. In support of this request, the

 parties state as follows:

         1.        On January 23, 2024, this Court entered its Ruling and Injunction, granting Plaintiff’s

 Motion for a Preliminary Injunction, and granting in part and denying in part Defendants’ Cross-

 Motion to Dismiss or, in the Alternative, for Summary Judgment. In the Injunction, the Court

 preliminarily enjoined Defendants from “imposing or enforcing any disparate impact-based


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 requirements against the State of Louisiana or any State agency under Title VI,” and from imposing

 or enforcing any Title VI disparate-impact-based requirements upon the State of Louisiana or any

 State agency under Title VI that are not both ratified by the President and based upon requirements

 found within the four corners of EPA’s disparate-impact regulations. See Injunction at 1. On February

 6, 2024, Defendants filed a notice with the Court confirming EPA’s and DOJ’s compliance with the

 Injunction.

         2.        Since the Injunction was entered and in light of the Court’s Ruling addressing all claims

 asserted by Plaintiff in this case, the parties have held several productive discussions about appropriate

 next steps in this case that will best serve the interests of judicial economy and efficiency. The parties

 have agreed that, without prejudice to any argument that any party may raise in any appeal, the most

 efficient course of action for all parties and for the Court is for the Court to enter a final judgment

 that is consistent with the Court’s Ruling and Injunction. Neither party waives the right to appeal the

 final judgment.

         3.        In the course of conferring about a final judgment, the parties have identified a limited

 number of discrete issues concerning the form of final judgment on which they have been unable to

 agree. To resolve any disputes over specific issues, the parties propose to present streamlined briefing

 to the Court. For purposes of this briefing, the parties intend to confer about, and to reach agreement

 to the maximum extent possible on, appropriate language for a proposed form of final judgment.

 Where the parties have differences on language, they will advocate for their respective positions

 through briefing on the following proposed schedule, which they request that the Court enter:

                      April 23, 2024: Plaintiffs’ brief on final judgment, not to exceed 15 pages

                      May 14, 2024: Defendants’ response brief, not to exceed 15 pages

                      May 28, 2024: Plaintiffs’ reply brief, not to exceed 10 pages

                      June 11, 2024: Defendants’ reply brief, not to exceed 10 pages

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        4.      In light of their proposal for the Court to enter a final judgment, the parties have also

 agreed that Defendants’ filing an Answer is not necessary. Accordingly, the parties request that the

 Court relieve Defendants of their obligation to do so and vacate the current Answer deadline of April

 5, 2024. ECF No. 53.

        A proposed order is attached.



 Dated: March 28, 2024                              Respectfully submitted,

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                                                     By:/s/ Tracy Short

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